          Case 1:19-cv-02184-TJK Document 46 Filed 06/06/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                      Plaintiff,

                      v.                               Case No. 1:19-cv-02184-TJK

FACEBOOK, INC.,
a corporation,

                      Defendant.



                                   JOINT STATUS REPORT

       Pursuant to the Court’s June 1, 2023 Minute Order, the parties have met and conferred

and hereby submit this Joint Status Report proposing a consolidated schedule for briefing and

hearing on Defendant’s motion (Dkt. No. 38) (the “Motion”) and Defendant’s deadline to

respond to the FTC’s order to show cause.

       With respect to whether the deadline for Defendant to respond to the FTC’s order to

show cause may be further extended, the United States has advised that FTC staff would not

oppose Defendant’s motion to extend to November 30, 2023 its time to respond to the

Commission’s order to show cause. The parties agree to discuss in good faith further extensions

consistent with the Court’s schedule for considering Defendant’s Motion.

       Based on the foregoing, the parties have agreed to the following briefing schedule for

Defendant’s Motion. To the extent the FTC does not grant the unopposed motion to extend time

through November 30, 2023, the parties shall return to the Court to discuss the schedule.

           •   Plaintiff’s response shall be due on or before August 16, 2023;

           •   Defendant’s reply shall be due on or before September 13, 2023; and




                                                1
       Case 1:19-cv-02184-TJK Document 46 Filed 06/06/23 Page 2 of 2




        •   The Parties propose October 3-5, 2023 as potential dates for a hearing on the
            Motion.


DATED: June 6, 2023                              Respectfully submitted,


                                                 /s/ Zachary L. Cowan

                                                 Katherine M. Ho
                                                 Zachary L. Cowan (DDC Bar No. 7579039)
                                                 U.S. DEPARTMENT OF JUSTICE
                                                 Consumer Protection Branch
                                                 450 5th Street, NW Suite 6400-South
                                                 Washington, DC 20001
                                                 (202) 353-7835
                                                 Email: Katherine.Ho@usdoj.gov

                                                 Attorneys for Plaintiff

                                                 /s/ James P. Rouhandeh

                                                 James P. Rouhandeh (DDC Bar No. NY0390)
                                                 Michael Scheinkman (DDC Bar No.
                                                 NY0381)
                                                 David B. Toscano (pro hac vice application
                                                 forthcoming)
                                                 John A. Atchley III (pro hac vice application
                                                 forthcoming)
                                                 DAVIS POLK & WARDWELL LLP
                                                 450 Lexington Avenue
                                                 New York, NY 10017
                                                 Tel: (212) 450-4000
                                                 rouhandeh@davispolk.com
                                                 michael.scheinkman@davispolk.com
                                                 david.toscano@davispolk.com
                                                 john.atchley@davispolk.com

                                                 Paul J. Nathanson (DDC Bar No. 982269)
                                                 DAVIS POLK & WARDWELL LLP
                                                 901 15th Street, NW
                                                 Washington, DC 20005
                                                 Tel: (202) 962-7000
                                                 paul.nathanson@davispolk.com

                                                 Attorneys for Defendant



                                             2
